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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR04-256-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
11   EDWARD DON JOHNSON,                  )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on July 31, 2006. The United States was represented by AUSA Lisca Borichewski and the

16 defendant by Michelle Shaw. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about January 7, 2005 by the Honorable Ricardo S.

18 Martinez on a charge of Bank Fraud, and sentenced to three months custody, five years supervised

19 release. (Dkt. 126).

20         The conditions of supervised release included the standard conditions plus the requirements

21 that defendant not possess any firearms, submit to drug testing, participate in drug treatment,

22 abstain from alcohol, submit to search, reside in a halfway house for up to 6 months, pay


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 restitution in the amount of $9,728.89, and provide access to financial information.

02          In an application dated June 29, 2006 (Dkt 151), U.S. Probation Officer Felix Calvillo, Jr.

03 alleged the following violations of the conditions of probation:

04          1.       Failing to make regular $100.00 payment towards restitution for the months of

05 January, February, March, April, May and June 2006, in violation of special condition #6.

06          2.       Using cocaine on or about January 3, 2006, in violation of standard condition #7.

07          Defendant was advised in full as to those charges and as to his constitutional rights.

08          Defendant admitted alleged violation two and waived any evidentiary hearing as to

09 whether it occurred. The government moved to dismiss violation one.

10          I therefore recommend the Court find defendant violated his supervised release as alleged

11 in violation two, dismissed alleged violation one, and that the Court conduct a hearing limited to

12 the issue of disposition. The next hearing will be set before Judge Martinez.

13          Pending a final determination by the Court, defendant has been released on the conditions

14 of supervision.

15          DATED this 1st day of August, 2006.



                                                   A
16

17                                                 Mary Alice Theiler
                                                   United States Magistrate Judge
18

19
     cc:    District Judge:                Honorable Ricardo S. Martinez
            AUSA:                          Lisca Borichewski
20          Defendant’s attorney:          Michelle Shaw
            Probation officer:             Felix Calvillo, Jr.
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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